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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


BUSINESS HEALTH SOLUTIONS, P.C.,
                                                 Case No. 15-cv-10990
        Plaintiff,
                                                 Hon. Sean F. Cox

v.

PACIFIC TOXICOLOGY LABORATORIES,
doing business as PAC TOX,
and JOHN DOES 1 - 10,

        Defendants.
                                                                            /

Adam G. Taub (P48703)                   Gerald J. Gleeson, II (P53568)
Adam Taub Assoc Consumer Law Group      Jeffrey A. Crapko (P78487)
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Counsel for Plaintiff                   gleeson@millercanfield.com
                                        crapko@millercanfield.com
                                        Counsel for Defendant Pacific Toxicology
                                        Laboratories
                                                                            /

     THIRD STIPULATION AND FINAL ORDER EXTENDING DEADLINE
      FOR DEFENDANT TO ANSWER OR OTHERWISE RESPOND AND
                         STAYING CASE




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                                       STIPULATION

        The parties, by and through their attorneys of record, respectfully request

that the Court enter the proposed Order set forth below, which extends the deadline

for twenty-one days for Defendant Pacific Toxicology Laboratories (“Pac Tox”) to

answer or otherwise respond to the Complaint and stays this case until the same

date. The parties are engaged in ongoing settlement discussions that are likely to

resolve this matter and fully anticipate that this case will be voluntarily dismissed

before this period expires.

        Stipulated to and respectfully submitted this 9th day of July, 2015, by:


                                MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.

                                By:   /s/Jeffrey A. Crapko
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                                            ORDER

        Having considered the parties’ stipulation, the Court hereby:

                      a. Extends the deadline for Defendant Pacific Toxicology

                          Laboratories to answer or otherwise respond to the Complaint

                          until Friday, July 31, 2015; and

                      b. Stays this case until Friday, July 31, 2015.

        Upon the expiration of the stay set forth above, the parties will submit a

Joint Status Report proposing how this matter will proceed.

        The Court will not grant any additional requests for extension of the

deadline to answer or other respond to the complaint.

        SO ORDERED.

Dated: July 9, 2015                                 s/ Sean F. Cox
                                                    Sean F. Cox
                                                    U. S. District Judge

Presented by:
                                MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.

                                By:    /s/Jeffrey A. Crapko
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